               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                             CENTRAL DIVISION

                                   MINUTE SHEET

UNITED STATES OF AMERICA                             Date:   November 4, 2015

vs.                                                  Case No.: 13-4051-06-CR-C-BCW

BRIAN CHRISTOPHER YOUNG



Honorable Brian C. Wimes, presiding at Jefferson City, Missouri

Nature of Hearing: Sentencing

Time Commenced: 11:08 am                              Time Terminated: 11:27 am

                                   APPEARANCES

Plaintiff=s counsel: Jim Lynn
Defendant=s counsel: Steven C. Reed, CJA
Probation officer: Tracey D. Cowin


PROCEEDINGS IN COURTROOM: Above parties present. Court accepts plea of guilty
         and adjudication of guilt. There are no objections to the Presentence Report
         and Court adopts P.S.I.R. without change. Court asserts statutory
         guidelines. Counsel makes sentence recommendations. Defendant
         accorded allocution.

SENTENCE: Defendant committed to the custody of BOP for a period of 77 months on
          Count 1 of the Second Superseding Indictment; followed by 4 years
          supervised release on Count 1 of the Second Superseding Indictment. FINE:
          waived; MSA: $100.       Standard/Additional Conditions of Supervision
          imposed. All remaining counts dismissed. Defendant remanded to custody
          of USM. Dft advised of right to appeal



Court Reporter: Denise Halasey
Courtroom Deputy: Carrie James




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